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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


STATE OF GEORGIA,
                                                 Case No. 1:23-cv-3721
v.
                                                 (Related to:
JEFFREY BOSSERT CLARK,
                                                 Case Nos.      1:23-cv-03621-SCJ
DEFENDANT.                                                      1:23-cv-03720-SCJ
                                                                1:23-cv-03792-SCJ
                                                                1:23-cv-03803-SCJ)

                                                 Judge Steve C. Jones


                                                 On removal from the Fulton
                                                 County Superior Court


            SUPPLEMENT TO AUGUST 21, 2023 NOTICE OF
                    REMOVAL BY JEFFREY B. CLARK

      1.       On August 21, 2023 Defendant Jeffrey B. Clark removed a set of

interrelated matters to this Court. See Case No. 1:23-cv-3721, Dkt. # 1.

      2.       Defendant herein supplements the Notice of Removal—generally and

especially as to paragraphs 14 through 17— by filing the attached document.

      3.       Specifically, attached as Exhibit 1 is the Order Entering Special

Purpose Grant Jury’s Final Report Into Court Record (with the attached Special

Purpose Grand Jury’s Final Report).
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             4.    As we predicted in the Notice of Removal, the Special Purpose

Grand Jury Final Report does reference Mr. Clark and include a recommendation,

albeit a legally flawed one, concerning Mr. Clark. See Notice of Removal, Dkt. # 1

at 12 (“The SPGJ Proceedings, however, likely involved District Attorney Willis

putting allegations about Mr. Clark to the SPGJ. It appears that District Attorney

Willis was using the SPGJ Proceedings to develop information about Mr. Clark and

other defendants she now alleges in the indictment conspired with one another.”).

             5.    The Special Purpose Grand Jury Final Report states that “[w]ith

respect to the national effort to overturn the 2020 presidential election, focused on

efforts in Georgia, Arizona, Wisconsin, Michigan, Pennsylvania, and the District of

Columbia, the Grand Jury recommends that the District Attorney seek indictments

of the following person(s) including votes … Jeff Clark 20 Y / 1 N / 0 A … Relevant

Statute(s): O.C.G.A. 16-4-3 and all relevant subsections.” Exhibit 1, Special Purpose

Grand Jury Final Report at 6-8.

             6.    As noted in the Notice of Removal, 28 U.S.C. § 1446(b)(3)

applies here. This is because the Indictment was the first document filed by which

Mr. Clark could determine that he was impugned by the ordinary grand jury process

and also, likely, by the Special Purpose Grand Jury process that preceded it as well.

But Mr. Clark could not be absolutely sure that the Special Purpose Grand Jury had

actually recommended an indictment be filed against him until just a few days ago—


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on September 8, 2023—when Judge McBurney of the Fulton County Superior Court

ordered the largely unredacted release of the Special Purpose Grand Jury Final

Report. See Exhibit 1 at 1 (“Order Entering Special Purpose Grand Jury’s Final

Report Into Court Record”).

             7.     This Supplement is timely as it is filed within 30 days of

September 8, 2023.

             8.     Whereupon this Supplement becomes part of the record of the

removal effectuated by the Notice of Removal. Our filing of this Supplement makes

it unnecessary for this Court to issue a writ of certiorari to require the filing of the

Special Purpose Grand Jury Final Report herein, pursuant to 28 U.S.C. § 1447(b).


      Respectfully submitted this 10th day of September 2023.


                                        /s/ Harry W. MacDougald
                                        Georgia Bar No. 463076
                                        Attorney for Defendant Jeffrey B. Clark

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         CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

      The undersigned hereby certifies that this filing was prepared in the Times

New Roman size 14 font in compliance with L.R. 5.1.

      This this 10th day of September, 2023.

                                     /s/ Harry W. MacDougald
                                     Georgia Bar No. 463076
                                     Attorney for Defendant

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                       CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing Supplement To August 21, 2023 Notice

Of Removal By Jeffrey B. Clark was hereby filed on this 10 day of September, 2023

with the Court’s electronic filing system which causes service to be made upon all

counsel of record.



      This 10 day of September, 2023.

                                     /s/ Harry W. MacDougald
                                     Georgia Bar No. 463076
                                     Attorney for Defendant

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